                                                                                                                  Page 1 of 2
 Case 1:17-cr-00101-LEK Document 197-6 Filed 04/11/18 Page 1 of 2                                           PageID #: 1697


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                                                     U.S. District Court

                                                     District of Hawaii

Notice of Electronic Filing

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Case Name:           USA v. Williams et al
Case Number:         1:17-cr-00101-LEK
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Document Number: 194(No document attached)

Docket Text:
EO: EO: The Court has been informed by the Deputy U.S. Marshal that Defendant
Anthony Williams is refusing to come to Court for todays hearing on the [171] Amended
Second Motion for Order to Show Cause and Request for Expedited Hearing.

The Court will decide this matter without a hearing.

Opposition due by 04/23/2018
Response due by 04/30/2018

(MAGISTRATE JUDGE KENNETH J. MANSFIELD)(bbb)
 COURTS CERTIFICATE of Service - Non-Registered CM/ECF Participants have been served by First Class Mail to the addresses of record
                                         listed on the Notice of Electronic Filing (NEF).




1:17-cr-00101-LEK-1 Notice has been electronically mailed to:

Michael Jay Green michaeljgreen@hawaii.rr.com, edna@michaeljaygreen.com,
joell@michaeljaygreen.com, kelly@michaeljaygreen.com, laura@michaeljaygreen.com

Ronald G. Johnson ron.johnson@usdoj.gov, CaseView.ECF@usdoj.gov,
USAHI.ECFMajorCrimes@usdoj.gov, dawn.aihara@usdoj.gov

Lars R. Isaacson        hawaii.defender@earthlink.net

1:17-cr-00101-LEK-1 Notice will not be electronically mailed to:

Anthony T. Williams
05963-122

                                                                  Exhibit 5

mhtml:https://mycourtdocuments.usa.doj.gov/pacer/HI/ecf/Activity%20in%20Case%2011... 4/11/2018
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 Case 1:17-cr-00101-LEK Document 197-6 Filed 04/11/18 Page 2 of 2            PageID #: 1698


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